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   IT IS ORDERED as set forth below:



   Date: August 17, 2023
                                                                _________________________________

                                                                         Barbara Ellis-Monro
                                                                    U.S. Bankruptcy Court Judge

 ________________________________________________________________

                          UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF GEORGIA
                                  ATLANTA DIVISION

 IN RE:
                                                                   CASE NO. 23-56586-BEM
 N'NEKA JEVA MAGEE,

          Debtor.                                                  CHAPTER 7

  ORDER VACATING DISMISSAL AND EXTENDING DEADLINE TO OBJECT TO
                DISCHARGE AND DISCHARGEABILITY

                Debtor’s case was dismissed on August 7, 2023 for filing deficiencies. Debtor has

substantially cured the filing deficiency. Accordingly, it is

                ORDERED that Debtor’s motion to reconsider [Doc. 18] is GRANTED, and the

Order of dismissal [Doc. 16] is VACATED; it is further

                ORDERED that the United States Trustee may reappoint a trustee and reschedule

the meeting of creditors; it is further

                ORDERED that the deadline for filing complaints objecting to discharge or to

dischargeability of certain debts is extended to October 25, 2023.
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                The Clerk is directed to serve copies of this Order on Debtor creditors, the Chapter

7 Trustee, and all parties in interest.

                                          END OF ORDER




                                                 2
